                                    UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                            Eastern Division

                                                Docket No. 7:10-CR-22-3F

UNITED STATES OF AMERICA                                    )
                                                            )
             v.                                             )                                    ORDER
                                                            )
MATTHEW TEACHEY                                             )
    Defendant                                               )


      This matter is before the court on the U.S. Probation Officer's motion to continue the sentencing in the above
case. presently scheduled for Tuesday, September 7, 20 I0, in Wilmington. The case is hereby CONTINUED to

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                                              CJ


                                                                  es C. Fox
                                                                enior U.S. District Judge




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